                                       
                                    In The
                               Court of Appeals
                     Seventh District of Texas at Amarillo

                           ________________________

                               No. 07-12-0461-CV
                           ________________________
                                       
                         MUSTAFA E. DERKUNT, APPELLANT

                                      V.

                  COMMISSION FOR LAWYER DISCIPLINE, APPELLEE
                                       

                    On Appeal from the 261st District Court
                             Travis County, Texas
    Trial Court No. D-1-GN-11-000745, Honorable Donald Kraemer, Presiding 

                                       
                                 April 5, 2013
                                       
                              MEMORANDUM OPINION
                                       
               Before Quinn, C.J., and Campbell and Pirtle, JJ.
                                       
The brief of pro se appellant Mustafa Engin Derkunt was due for filing on February 25, 2013.  When the brief was not filed, we notified Derkunt by letter of March 4, 2013, that pursuant to appellate rules 38.8(a)(1) and 42.3(b) the appeal was subject to dismissal without further notice unless he filed his brief, along with a motion requesting additional time, by March 14, 2013.  We have received from Derkunt neither a brief, a motion for additional time nor any other response to our March 4 letter.  Accordingly, the appeal is dismissed for want of prosecution.  Tex. R. App. P. 38.8(a)(1) &amp; 42.3(b).  As Derkunt appears in the case as an indigent, no costs are assessed. 

Per Curiam
